10

11

12

13

14

15

16

1?

18

193

20

21

22

23

24

25

26

27

28

Case 3:19-cr-04087-WQH Document1 Filed 10/10/19 PagelD.1 Page 1 of1

 

IM OCT 10 P 2 84

vp phage Peere

KCOURT.

   

UNITED STATES DISTR

   

 

a

SOUTHERN DISTRICT OF CAI IFORNIA {

January 2019 Grand ‘a Sey

19 oR 4087 WOH

 

UNITED STATES OF AMERICA, Case No
Plaintiff, INDICTMENT é
v. Title 8, U.S.C., Sec. 1326(a)-
Removed Alien Found in the United
EDGAR ULLOA-AGUAYO, States
Defendant.

 

 

 

 

The. grand jury charges:

On or about August 5, 2019, within the Southern District of
California, defendant EDGAR ULLOA-AGUAYO, an alien, who previously had
been excluded, deported and removed from the United States, was found
in the United States, without the Attorney General of the United States
and his/her designated successor, the Secretary of the Department of
Homeland Security (Title 6, United States Code, Sections 202(3} and (4),
and 557), having expressly consented to the defendant’s reapplication
for admission into the United States; in violation of Title 8, United
States Code, Section 13276(a}.

DATED: October 10, 2019.

 

 

Woreperson

ROBERT S&S. BREWER, bon
United Stafés Att6 mey

ov: OW WM)

"AL ca P.* WILLIAMS
Assistant U.S. Attorney

APW:cms:San Diego:10/10/19

 
